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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 ZAXCOM, INC.                                  : CIVIL ACTION
                                               :
                      v.                       : NO. 23-1245
                                               :
 RODE MICROPHONES, LLC, et al.                 :

                                           ORDER
       AND NOW, this 30th day of January 2024, upon considering the parties’ stipulation to

extend time (DI 17), and finding no good cause, it is ORDERED the parties’ stipulation (DI 17)

is NOT APPROVED. 1




                                                    MURPHY, J.




       1
         The reported, yet unexplained, refusal by counsel for Rode to facilitate service of its
parent company (DI 12) is puzzling, but counsel for Zaxcom has not complained. So we are
content to hold off on a comprehensive schedule for the case until that is squared away. Merely
opening discovery is a different matter — counsel have offered to no reason for delay.
